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                                                                          November 6, 2024
         BY ECF
         Hon. Ann M. Donnelly
         United States District Judge
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201

                             Re: Maria Ruscelli v. The Department of Education of the City of New York
                                 23-CV-07475-LB
         Dear Judge Donnelly:

                I am an Assistant Corporation Counsel in the Office of Muriel Goode-Trufant, Acting
         Corporation Counsel of the City of New York, attorney for the Defendant, The Department of
         Education of the City of New York, in the above-referenced action.

                 I write, in accordance with Your Honor’s Individual Rules, to respectfully request a ten
         (10) day extension of time, from November 15, 2024 to November 25, 2024, for Maria Ruscelli,
         Plaintiff pro se, to file her reply to Plaintiff’s motion for reconsideration. This is Plaintiff’s first
         request for an extension of time to reply to Plaintiff’s motion for reconsideration and Defendant
         consents.

                   I thank the Court for its consideration of this request.

                                                                          Respectfully submitted,

                                                                          /s/ Madeleine A. Knutson
                                                                           Madeleine A. Knutson, Esq.
                                                                         Assistant Corporation Counsel
         cc:       Maria Ruscelli (by email and mail)
